                                                                                  Case 3:07-cv-05944-JST Document 1512 Filed 12/27/12 Page 1 of 2




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                                                                          6                        IN THE UNITED STATES DISTRICT COURT
                                                                          7                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                                  IN RE: CATHODE RAY TUBE (CRT)            )   MDL No. 1917
                                                                          9       ANTITRUST LITIGATION                     )
                                                                                                                           )   Case No. 07-5944-SC
                                                                         10                                                )
United States District Court
                               For the Northern District of California




                                                                                                                           )   ORDER RE ADMINISTRATIVE
                                                                         11       This Order Relates To:                   )   MOTIONS TO FILE UNDER SEAL
                                                                                                                           )
                                                                         12         INDIRECT PURCHASER PLAINTIFF           )
                                                                                    ACTIONS                                )
                                                                         13                                                )
                                                                         14
                                                                         15          Now pending before the Court are three administrative motions

                                                                         16   to file under seal.       ECF Nos. 1386, 1401, 1489 (collectively

                                                                         17   "Motions").1      The Court GRANTS the pending Motions for good cause

                                                                         18   shown, but wishes to note its concern about the administrative

                                                                         19   burden of reviewing these motions and the declarations filed in

                                                                         20   support of them.       This review requires the Court and its limited

                                                                         21   staff to sift through thousands of pages of documents.                The Court

                                                                         22   observes that many of the documents that have been designated as

                                                                         23   sealable are of less than recent vintage and relate to business

                                                                         24   practices centered on an obsolete technology.            Accordingly, the

                                                                         25   Court will look favorably upon motions to intervene filed by

                                                                         26   members of the public who wish to access the sealed documents.               If

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                                                                                A fourth motion, ECF No. 1471, is also pending, but this Motion
                                                                         28   appears to be duplicative of the one filed as ECF No. 1401.
                                                                              Accordingly, ECF No. 1471 is DENIED AS MOOT.
                                                                               Case 3:07-cv-05944-JST Document 1512 Filed 12/27/12 Page 2 of 2




                                                                          1   such motions are filed, the Court will not hesitate to appoint a
                                                                          2   Special Master to review the documents to be unsealed, whose fee
                                                                          3   shall be paid directly by the party seeking to preserve
                                                                          4   confidentiality.
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                                                                          6        IT IS SO ORDERED.
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                                                                          8        Dated:   December 27, 2012
                                                                                                                   UNITED STATES DISTRICT JUDGE
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                               For the Northern District of California
United States District Court




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